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                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF CONNECTICUT

PEGGY CERALDI

v.                                               CASE NO. 3:17CV 1628 (WWE)

LINDA STRUMPF
U.S. EQUITIES CORP.                                            June 25, 2018

     DEFENDANTS SUPPLEMENTAL RESPONSES TO PLAINTIFF'S REQUEST FOR
                            ADMISSIONS

            As and for its supplemental response to Peggy Ceraldi ("Plaintiff")'s Request for

Admissions, Defendants Linda Strumpf ("Strumpf') and U.S. Equities Corp. ("Equities")

(collectively "Defendants"), state, object and respond as follows:

                                      REQUEST FOR ADMISSIONS

            1. Defendant Strumpf is a solo practitioner whose law office is at her home address of

244 Colonial Rd, New Canaan CT.

            RESPONSE: Defendants admit.

            2. Defendant Strumpf s law firm is a debt collection law firm.

            RESPONSE: Defendants admit for purposes of this matter only.

            3. Ms. Strumpf has more than 35 years' experience in the debt collection field.

            RESPONSE: Defendants deny. Defendants admit that Strumpf has experience in

            the collection of debts, but deny that she has "35 years' experience in the debt

            collection field."

            4. Since February of 1984, Strumpf has devoted a substantial part of her legal practice

to litigation for the collection of consumer credit obligations.

            RESPONSE: Defendants deny. Defendants admit that Strumpf has been licensed

            to practice law in New York since 1976 and Connecticut since 1990, and presently



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            devotes a substantial part of her practice to representing plaintiffs in collection

            matters.

            5. In 2010, Strumpf was requesting attorney's fee awards at an hourly rate of $500 per

hour for consumer collections.

            RESPONSE: Objection. This request seeks information that is not relevant to any

            party's claims or defenses and therefore Defendants deny same. Defendants were

            not seeking an hourly award of attorney fees in this matter.          Subject to and

            without waiving said objections, Defendants admit that Defendant Strumpf has

            submitted affidavits in support of judgments in other matters seeking an hourly

            rate of $500.00 in years past. Defendant arc uncertain if such affidavits were filed

            in 2010 and therefore denies same.

            SUPPLEMENTAL RESPONSE: See attached affidavit.

            6. Defendant Strumpf regularly collects consumer debts by appearing in court, filings

pleadings, or writing letters as the attorney for U.S. Equities Corp. ("Equities").

            RESPONSE: Objection. This request is vague and ambiguous as to what

            constitutes "regularly collects" and therefore Defendants deny same. Subject to

            and without waiving said objections, Defendants admit to Strumpf being licensed

            to practice law in New York since 1976 and in Connecticut since 1990, and

            presently represents plaintiffs in collection matters, including Defendant Equities.

            SUPPLEMENTAL RESPONSE: See attached affidavit.

            7. Equities is a New York Corporation with a Connecticut office location at 244

Colonial Rd, New Canaan CT which is not authorized or registered to do business with the


.Secretary of the State of Connecticut.

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            RESPONSE: Defendants admit that Equities is a New York Corporation.

            Defendants deny the remainder of the request.

            8. Equities has been licensed as a Consumer Collection Agency in Connecticut for

many years.

            RESPONSE: Objection. This request is vague and ambiguous as to what

            constitutes "many years." · Subject to and without waiving said objections,

            Defendants deny. Defendants admit Equities is presently and has been licensed by

            the Connecticut Department of Banking as a consumer collecting agency.

            SUPPLEMENTAL RESPONSE: See attached affidavit.

            9. Hal Siegel is the owner, president and sole full-time staff of Equities, and the spouse

of defendant Strumpf.

            RESPONSE: Objection. This request seeks information that is not relevant to any

            party's claims or defenses.       Subject to and without waiving said objections,

            Defendants deny. Defendants admit that Hal Siegel is the president and sole stock-

            holder of Equities and the spouse of Defendant Strumpf.

            10. Equities' principal business is buying defaulted consumer debt and seeking to

,collect thereon.

            RESPONSE: Defendants deny. Defendants admit that Equities has purchased

            defaulted consumer debt in the past. Defendants also admit that Equities is a

            passive debt purchaser.

            11. Equities, acting through its attorney Strumpf, has filed over 2,500 collection cases

against individuals in Connecticut.

            RESPONSE: Objection. This request is overly broad, unduly burdensome, seeks



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            information that is not relevant to any party 's claims or defenses, and is

            disproportionate   to the needs of the case, and for which the burden and expense of

            discovery outweigh any likely benefit.        Subject to and without waiving said

            objections, Defendants are without sufficient information or knowledge to either

            admit or deny this request and therefore deny.

            SUPPLEMENTAL RESPONSE: Defendants admit.

            12. Equities, acting through its attorney Strumpf, has filed over 2,500 collection cases

against consumers in Connecticut.

            RESPONSE: Objection. This request is overly broad, unduly burdensome, seeks

            information that is not relevant to any party's claims or defenses, and is

            disproportionate to the needs of the case, and for which the burden and expense of

            discovery outweigh any likely benefit.        Subject to and without waiving said

            objections, Defendants are without sufficient information or knowledge to either

            admit or deny this request and therefore deny.

            SUPPLEMENTAL RESPONSE: Defendants admit.

            13. Equities is an experienced consumer debt collector.

            RESPONSE: Defendants deny. Defendants admit that Equities is a passive debt

            purchaser.

            14. Equities applied for attorney's fees in U.S. Equities Corp. v. Ceraldi, Superior

Court, judicial district of New Britain, Docket No. HHB-CVI I 06008754-S (the state court


.action) based on the fact that plaintiffs account arose from a consumer credit transaction .
            RESPONSE: Objection. This request is overly broad, unduly burdensome, seeks

            information that is not relevant to any party's claims or defenses, and is




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            disproportionate to the needs of the case, and for which the burden and expense of

            discovery outweigh any likely benefit. Subject to and without waiving said

            objections, Defendants deny. Defendants admit Equities sought fees, but deny it

            was because it was a "consumer" credit transaction. Equities was awarded 15

            percent of the judgment in attorney's fees pursuant to CT Gen Stat.§ 42-150aa.

            SUPPLEMENTAL RESPONSE: The overly broad and unduly burdensome

            objections are being withdrawn. See attached affidavit.

            15. Equities was not entitled to 24 percent prejudgment interest on any Chase credit

card account.

            RESPONSE: Defendants deny.

            16. Chase did not send plaintiff any periodic statements after April 30, 2008.

            RESPONSE: Objection. This request is overly broad, unduly burdensome, seeks

            information that is not relevant to any party's claims or defenses, and is

            disproportionate to the needs of the case, and for which the burden and expense of

            discovery outweigh any likely benefit.         Subject to and without waiving said

            objections, Defendants are without sufficient information or knowledge to either

            admit or deny this request and therefore deny the same.

            SUPPLEMENT AL RESPONSE: The overly broad and unduly burdensome

            objections are being withdrawn. See attached affidavit.

            17. Chase could not legally charge plaintiff interest once it stopped sending periodic

statements.

            RESPONSE: Objection. This request is overly broad, unduly burdensome, seeks

            information that is not relevant to any party's claims or defenses, and is



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            disproportionate to the needs of the case, and for which the burden and expense of

            discovery outweigh any likely benefit. This request improperly seeks a legal

            conclusion. Defendants are without sufficient information or knowledge to either

            admit or deny this request and therefore deny the same.

            SUPPLEMENT AL RESPONSE: The overly broad and unduly burdensome

            objections are being withdrawn. See attached affidavit.

            18. Chase had waived interest by not adding interest after charge-off of plaintiffs credit

card account.

            RESPONSE: Objection. This request is overly broad, unduly burdensome, seeks

            information that is not relevant to· any party's claims or defenses, and is

            disproportionate to the needs of the case, and for which the burden and expense of

            discovery outweigh any likely benefit. This request improperly seeks a legal

            conclusion. Defendants are without sufficient information or knowledge to either

            admit or deny this request and therefore deny the same.

            SUPPLEMENTAL RESPONSE: The overly broad and unduly burdensome

            objections are being withdrawn. See attached affidavit.

            19. Chase's contractual interest rate was variable, not fixed.

            RESPONSE: Objection. This request is overly broad, unduly burdensome, seeks

            information that is not relevant to any party's claims or defenses, and is

            disproportionate to the needs of the case, and for which the burden and expense of

            discovery outweigh any likely benefit.             Defendants are without sufficient

            information or knowledge to either admit or deny this request and therefore deny

            the same.



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            SUPPLEMENTAL RESPONSE: The overly broad and unduly burdensome

            objections arc being withdrawn. See attached affidavit.

            20. Chase could not legally charge plaintiff24 percent interest.

            RESPONSE: Objection. This request is overly broad, unduly burdensome, seeks

            information that is not relevant to any party's claims or defenses, and is

            disproportionate to the needs of the case, and for which the burden and expense of

            discovery outweigh any likely benefit. This request improperly seeks a legal

            conclusion. Defendants are without sufficient information or knowledge to either

            admit or deny this request and therefore deny the same.

            SUPPLEMENTAL RESPONSE: The overly broad and unduly burdensome

            objections are being withdrawn. See attached affidavit,

            21. Strumpf applied for attorney's fees in the state court action without specifying the

hourly rate or time expended.

            RESPONSE: Defendants admit that fees were sought, but deny that it was

            required by the Court to state "the hourly rate or time expended."

            22. Defendants relied on a generic contract as the basis for the attorney's fee request.

            RESPONSE: Defendants deny.

            23. The contract defendants presented in the state court action specified that only

attorneys directly representing Chase were entitled to fees; the contract limited the rights of

debt buyers to the arbitration clause.

            RESPONSE: Defendants deny.

            24. As of April 4, 2018, no rate of post judgment interest had been set in the state court

action.



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            RESPONSE: Defendants deny.

            25. Plaintiff has paid over $12,320 to defendants pursuant to the state court action.

            RESPONSE: Defendants admit that the amount referenced has been paid on the

            debt owed to Equities and deny as to all other extents.

            26. Plaintiff paid $130 in the state court action in connection with her motion for

protective order.

            RESPONSE:        Defendants are without sufficient information or knowledge to

            either admit or deny this request and therefore deny the same.

            SUPPLEMENTAL RESPONSE: Defendants deny.

            27. Equities paid less than $100,000 for the 232 accounts purchased from Turtle Creek

that included plaintiffs account.

            RESPONSE: Objection. This request is overly broad, unduly burdensome, seeks

            information that is not relevant to any party's claims or defenses, and is

            disproportionate to the needs of the case, and for which the burden and expense of

            discovery outweigh any likely benefit. This request also seeks information that is

            confidential, trade secret and proprietary in nature and therefore Defendants

            deny.

            SUPPLEMENTAL RESPONSE: The overly broad and unduly burdensome

            objections arc being withdrawn. See attached affidavit.




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        VERIFICATION OF SUPPLEMENTAL RESPONSES TO REQUESTS FOR
                              ADMISSIONS

 "I verify under penalty of perjury that the foregoing is true and correct."


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 Executed on June __ , 2018.




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 Executed on June __, 2018.                            U.S. E~IES CORP.

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